Case 2:24-cv-12745-RJW-EAS ECF No. 14, PageID.212 Filed 03/04/25 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


CARLA BROWNLEE,

       Plaintiff,
                                            Case No. 24-cv-12745
v.
                                            Honorable Robert J. White
41B DISTRICT COURT,

       Defendant.


      STIPULATED ORDER EXTENDING THE DEADLINE FOR
  PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS


      THIS MATTER having come before the Court upon the stipulation between

the parties through their respective counsel; and the Court being fully advised in the

premises;

      IT IS HEREBY ORDERED that the that the deadline for Plaintiff’s

Response to Defendant’s Motion to Dismiss be extended from March 4, 2025 to

March 18, 2025.

      IT IS HEREBY ORDERED that the that the deadline for Defendant’s Reply

is extended in accordance with the extension above.

      SO ORDERED.

Dated: March 4, 2025                       s/Robert J. White
                                           Robert J. White
                                           United States District Judge
Case 2:24-cv-12745-RJW-EAS ECF No. 14, PageID.213 Filed 03/04/25 Page 2 of 2




STIPULATED TO:

/s/ Carla D. Aikens                    /s/ Timothy S. Ferrand (with permission)
CARLA D. AIKENS (P69530)               Timothy S. Ferrand
CARLA D. AIKENS, P.L.C.                Cummings, Mclorey, David
                                       & Acho, PLC
Attorneys for Plaintiff
                                       Attorneys for Defendant

Dated: March 4, 2025                   Dated: March 4, 2025
